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                                           No. 21-1912

                    IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

        ORANGEBURG COUNTY SCHOOL DISTRICT; SOUTH CAROLINA STATE
                      CONFERENCE OF THE NAACP,
                                    Movants-Appellants,

                                                v.

         BISHOP OF CHARLESTON, a Corporation Sole, d/b/a Roman Catholic Diocese
         of Charleston; Sole; SOUTH CAROLINA INDEPENDENT COLLEGES AND
                                   UNIVERSITIES, INC.,

                                                      Plaintiffs-Appellees,

                                               and

         MARCIA ADAMS, in her official capacity as the Executive Director of the South
         Carolina Department of Administration; BRIAN GAINES, in his official capacity
         as budget director for the South Carolina Department of Administration; HENRY
               MCMASTER, in his official capacity as Governor of South Carolina,

                                                     Defendants-Appellees,

                                               and

                                STATE OF SOUTH CAROLINA,

                                                     Intervenor/Defendant-Appellee.


                              On appeal from the U.S. District Court
                                 for the District of South Carolina
                              (Civil Action No. 2:21-cv-01093-BHH)


                        APPELLANTS’ MOTION TO DISMISS APPEAL



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                        APPELLANTS’ MOTION TO DISMISS APPEAL

               Appellants respectfully request that the Court dismiss this appeal without fees

        or costs to any party.

               In this appeal, Appellants seek review of the district court’s denial of their

        motion to intervene on the side of Defendants in the same district court case that

        generated the appeal in 4th Circuit Case No. 22-1175. The district court denied

        Appellants’ intervention motion prior to the parties’ submission of cross-motions for

        summary judgment. After the district court granted summary judgment in favor of

        Defendants, Appellants in the instant appeal filed an unopposed motion to hold the

        appeal of the intervention order in abeyance. At that time, Appellants observed that

        “[i]f this Court affirms the grant of summary judgment against Plaintiffs and that

        affirmance is undisturbed by further review, the present appeal challenging the denial

        of intervention will become moot, as Appellants will have obtained all of the relief

        that they sought to obtain by intervening.”

               This Court has now ruled against Plaintiffs in No. 22-1175, and the time for

        seeking further review of that judgment has expired. The current appeal is now moot,

        and Appellants therefore request that the Court dismiss Appeal No. 21-1912 without

        fees or costs to any party.

               Appellants asked counsel for other parties for their position on this motion.

        Counsel for Governor McMaster and the Department of Administration officials

        indicated they do not oppose the motion. Counsel for other parties did not respond.
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                                          CONCLUSION

              For these reasons, Appellants respectfully request that this Court dismiss this

        appeal without fees or costs awarded to any party.



        October 26, 2022                           Respectfully submitted,

        PHILLIP D. BARBER                           /s/Joseph W. Mead
        RICHARD A. HARPOOTLIAN P.A.                JOSEPH W. MEAD
        1410 Laurel Street                         KELSI B. CORKRAN
        Post Office Box 1090                       BEN GIFFORD
        Columbia, South Carolina 29202             AMY L. MARSHAK
        Phone (803) 252-4848                       INSTITUTE FOR CONSTITUTIONAL
        Facsimile (803) 252-4810                   ADVOCACY AND PROTECTION
        pdb@harpootlianlaw.com                     GEORGETOWN UNIVERSITY LAW
                                                   CENTER
        SKYLER B. HUTTO                            600 New Jersey Ave., N.W.
        WILLIAMS & WILLIAMS                        Washington, D.C. 20001
        1281 Russell Street (29115)                Phone (202) 662-9765
        Post Office Box 1084                       jm3468@georgetown.edu
        Orangeburg, S.C. 29116
        Phone (803) 534-5218
        Facsimile (803) 536-6298
        skyler@williamsattys.com




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